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UNITED STATES OF AMERICA
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

       -V-                                                       Docket No. 5:04CR00268-012

Michael Dayton


HONORABLE FREDERICK J. SCULLIN, JR., CHIEF U.S. DISTRICT JUDGE


                                          ORDER

The Court recommends the defendant be designated to Elkton Federal Correctional Institution to
allow him to be as close to his family as possible.



       IT IS SO ORDERED

DATED:        February 6, 2006
              Syracuse, New York
